Case 2:05-cV-02109-.]P|\/|-de Document 21 Filed 06/30/05 Page 1 of 3 Page|D 35

 

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IN THE UNITED STATES DISTRICT COURT '“ D.Q
FOR THE WESTERN DISTRICT 0F TENNESSEE 05 JU~ 30

WESTERN DNISION FH 2-' 141

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MORGAN & THORNBURG, lNc., W/D ;: ;,,-‘,-_ M;W%WT
Plaintiffs,

v. CiVil Action No.: 05-2109 Ml/V

M.A. MORTENSON COMPANY,
FEDERAL INSURANCE COMPANY, and
AMER_ICAN HOME ASSURANCE
COMPANY,

Defendants,
NEW MEMPHIS ARENA PUBLIC BUILDING
AUTHORITY OF MEMPHIS & SHELBY
COUNTY,

lntervening Defendant
and Third-Party Plaintiff,

V.
ELLERBE BECKET, INC.,

Third-Party Defendant

 

ORDER GRAN'I`ING MOTION FOR EXTENSION OF TIME

 

For good cause shown the Third-Party Defendant Ellerbe Becket, Inc. is granted an

additional twenty (20) days to plead to the third-party complaint) ma 01 MLL-

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UNITED STATES DISTRICT JUDGE

OR

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UNi`TED STATES MAGIS'TRATE JUDGE

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Honorablc J on McCalla
US DISTRICT COURT

Filed 06/30/05 Page 3 of 3 Page|D 37

